Case 2:05-Cr-20303-BBD Document 12 Filed 08/31/05 Page 1 of 2 Page|D 13

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IN THE UNITED sTATEs DIsTRiCT CoURT '" Y ~“~ D-“~

FoR THE WEs'rERN DISTRICT oF TENNESSEE .
WESTERN DlesIoN 05 AUC 3' PH 3' 39

 

UNITED STATES OF AMERICA

 

V.

LORENZO DAVIS 05cr20303-B

 

OR])ER ON ARRAIGNMENT

 

This cause came to be heard on 03 ' 51 '0`5/ the United States Attorney
for this district appeared on behalf of the government, and the defendant appeared in person and with
counsel:

NAME np,{§i /O@VMGMHU/L ypfl¥l pm 645[1/)') who is Retained/Appointed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, Who is not in Custody, may stand on his present bond.
,¢ The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being:,r held Without bond pursuant to BRA of 1984), is remanded to the Custody

of the U.S. l\/Iarshal.
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UNITED STATES MAGISTRATE ]UDGE

 

CHARGES - 18 USC 922(g)
firearms

Attorney assigned to Case: G. Gilluly

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This notice confirms a copy of the document docketed as number l2 in
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PDA

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Honorable .l. Breen
US DISTRICT COURT

